Case 1:20-cv-02328-LDH-CLP Document 79 Filed 01/12/22 Page 1 of 1 PageID #: 1530




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 January 12, 2022

 By CM-ECF
 Hon. Cheryl L. Pollak
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re: Islam et al. v. Hochul et al., 20-CV-2328(LDH)(CLP)

 Dear Judge Pollak:

 Plaintiffs submit this letter to request an adjournment of the settlement conference currently
 scheduled for Tuesday, February 8, 2022 at 11:15 a.m., due to an unforeseen conflict. Plaintiffs’
 counsel must attend a public hearing of the New York City Taxi and Limousine Commission
 which was scheduled last week to take place at the same time as the settlement conference in this
 matter.

 We have conferred with Defendants’ counsel, who does not object to adjournment, and we look
 forward to scheduling this conference for another date in February.

 Respectfully Submitted,

 /s/ Zubin Soleimany
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 cc: Counsel of Record (via CM/ECF)
